Case 3:95-cr-00973-.]I\/| Document 177 Filed 10/10/96 Page|D.llSB Pagelon

USDC SCAN INDEX SHEET

||||||||||||||||||||\|l|||||||l|i||\}||I|\||||\|l
1||\||!||||l||||l|||l|||l| ||||I||||| l|…|||
|||\||!|1|{\||\||||

!|||||||||I||||||||I||||
4||||||||||||1||{\||||||4||||

 

USA

GUZMAN-LOERA

TLW
3:95~CR-OO973
*177*

*CRV.*

ease 3:95-cr-00973-Jl\/l Documem 177 Filed10/10/96 Pag`€lUT"II§§"*F”>"a'§'é"`z'"Bf"é

F|LED\)Y/

UCT|U|SJ%

 

 
  
    
 

 

 

UNITED STATES DISTRICT COUR'
SOUTHERN DISTRICT OF CALIFO

 

DEHRETCOURT

UNITED STATES OF AMERICA,
Plaintiff, CASE NO. 95~0973-N

VS

ENRIQUE AVALOS-BARRIGA (05),

Defendant.

)
)
)
)
)
) VERDICT
)
)
)
)

 

we the jury in the above entitled cause find the defendant,

ENRIQUE AVALOS-BARRIGA,

(;;k$~?`l`irt£ of Conspiracy to Import and to Possess Cocaine
with Intent to Distribute as charged in

Count l of the 4th Superseding Indictment.

C; \}:[_l;Td\&d of Continuinq Criminal Enterprise as charged in

Count 2 of the 4th Supersedinq Indictment.

`?a&,;a, “<`, Q,MW

For£?erson of the Jury

Date: /O /\
San Die , C ifornia \

